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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

H-D U.S.A., LLC,
                                                    Case No. 19-cv-01789
               Plaintiff,
                                                    Judge Charles R. Norgle
v.
                                                    Magistrate Judge Maria Valdez
3AAA STORE, et al.,
               Defendants.


                              SATISFACTION OF JUDGMENT

       WHEREAS, a judgment was entered in the above action on May 30, 2019 [44], in favor of

H-D U.S.A., LLC (“Harley-Davidson” or “Plaintiff”) and against the Defendants Identified in

Schedule A in the amount of one million dollars ($1,000,000) per Defaulting Defendant, and

Harley-Davidson acknowledges payment of an agreed upon damages amount, costs, and interest

and desires to release this judgment and hereby fully and completely satisfy the same as to the

following Defendants:

               Defendant Name                                         Line No.
                soyavision2017                                           95
                  Dongdong                                              116

       THEREFORE, full and complete satisfaction of said judgment as to the above-referenced

Defendants is hereby acknowledged, and the Clerk of the Court is hereby authorized and directed

to make an entry of the full and complete satisfaction on the docket of said judgment.
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Dated this 9th day of July 2019.      Respectfully submitted,


                                      /s/ RiKaleigh C. Johnson
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                                      Justin R. Gaudio
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